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             Synopsis of the 60 HIGHLY SENSITIVE MPD Body worn Cameras



Foskett, Luke (7153)- Video is 5m28s. Officer reports to supervisor regarding a bruise on
his leg.

Payne, Tiffany (11652)- Video is 20m12s. Officer makes various facetime calls to loved
ones while showing hallways of the Capitol (if these areas are sensitive, Officer has already
broadcast those areas to members of the public), while promising to send pictures to them
of those areas, makes claims that not one single protestor touched her, compares
protestors to cockroaches & Has brief discussion with officer eating pizza.

Kirby, Lisa (4179)- Video is 7m 57s.- NOT PROVIDED ON EVIDENCE.COM

Kirby, Lisa (4179)- Video is 42m 55s- NOT PROVIDED ON EVIDENCE.COM

Apollon, Peter (12371)- Video is 40m 18s- NOT PROVIDED ON EVIDENCE.COM

Thomas Joel (11288)- Video is 1hr26m38s, Timestamp-1:14:56-1:20:39 contains personal
phone calls of officer to family/friends. Rest of 1hr 26 minute video does not appear to be
sensitive, nor anything indicating it is.

Hodges, Herman (3041)- Video 33m23s. Timestamp-12:24-12:43 contains name of
arrested individual. Rest of 33 minute video does not appear to be sensitive, nor anything
indicating it is.

Wilson, Bryan (8966)- Video is 25m13s. Timestamp-18:27-18:29 contains name of arrested
individual. The rest of 25 minute video does not appear to be sensitive, nor anything
indicating it is.

Tidline, Yvonne (3397)- 2 videos designated as Highly sensitive, First is 59m3s. Timestamp-
9:46-10:41 contains MPD paperwork, 14:33-15:27 contains MPD arrest processing
paperwork. Rest of 59m3s video does not appear to be sensitive, nor anything indicating it
is. Video 2 is 28m5s. 23:15-23:29 contains discussion of and images of MPD arrest
processing paperwork. Rest of 28 minute video does not appear to be sensitive, nor
anything indicating it is.

Joyce, Justin (12403)- Video is 40m 45s. 28:53-29:04 contains name of arrested individual.
Rest of 40 minute video does not appear to be sensitive, nor anything indicating it is.

Wilson, Damon (7702)- Video is 30m 22s. Video is 30m22s, 13:14-13:31 contains name of
arrested individual. Rest of 30 minute video does not appear to be sensitive, nor anything
indicating it is.
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Spain, Florence (9162)- Video is 30m32s, 4:26-5:10 contains names of arrested individuals.
13:16-13:33 contains the name of arrested individual. 14:52-15:10 contains the name of
arrested individual. 20:00-20:24 contains the name of arrested individual. Rest of 30
minute video does not appear to be sensitive and nothing indicates it is.


Davies, Elijah (11867)- Video is 31m21s, 8:58-14:14, 20:52-27:00 contains name of
arrested individuals. Rest of 30 minute video does not appear to be sensitive, nor anything
indicating it is.

Davies, Casey (10635)- Video is 24m44s, 05:15-06:07 contains license of arrested
individual. Rest of 24 minute video does not appear to be sensitive, nor anything indicating
it is.

Keels, Ashley (9727)- Video is 2h37m32s, 52:41-06:07 contains license of arrested
individual. Rest of 24 minute video does not appear to be sensitive, nor anything indicating
it is.

Stout, Andrew (8800)- Video is 1hr26m31s. 47:50-48:22 contains a personal phone call by
Officer. 1:14:38-1:17:29 contains MPD Prisoner processing paperwork, and a momentary
view of police breakroom. The rest of 1h,26m,31s video does not appear to be sensitive,
nor anything indicating it is.

Burke, Breandan (12361)- Video is 3h31m27s. 2:36:09-2:37:24 contains MPD prisoner
processing paperwork. The rest of 3h,31m,27s video does not appear to be sensitive, nor
anything indicating it is.

Pena, Maria (3629)- Video is 1h38m12s. 22:31-24:00 contains names of arrested
individuals. 55:41-56:38 contains the name of arrested individual. The rest of 3h,38m,12s
video does not appear to be sensitive, nor anything indicating it is.

Williams, Chrishauna (11849)- Video is 4h30m51s. 2:49:07-2:50:44 contains MPD
Prisoner Processing paperwork. The rest of 4h,30m,51s video does not appear to be
sensitive, nor anything indicating it is.

Webster Jr, Medgar (11969)- Video is 4h31m05s. 01:32:02-01:32:06 contains brief view of
MPD prisoner processing paperwork. 01:44:36-01:45:05 contains brief view of MPD
Prisoner processing paperwork. 02:07:58-02:09:50 contains brief view of MPD prisoner
processing paperwork, as well as discussions of snacks and coffee being available to
officers. 02:24:53-02-26-24 contains brief glimpses of MPD prisoner processing
paperwork. 02:40:39-02:41:36 contains brief glimpses of MPD prisoner processing
paperwork. 02:45:47-02:46:38 contains brief glimpses of MPD prisoner processing
paperwork. 02:51:49-02:52:24 contains brief glimpses of MPD prisoner processing
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paperwork. 02:58:35-02:58:55 contains brief glimpses of MPD prisoner processing
paperwork. 03:12:02-03:12:30 contains brief glimpses of MPD prisoner processing
paperwork. 03:27:08-03:27:21 contains brief glimpses of MPD prisoner processing
paperwork. 03:30:09-03:31:34 contains brief glimpses of MPD prisoner processing
paperwork. 03:32:48-03:33:12 contains brief glimpses of MPD prisoner processing
paperwork. The rest of 4h,31m,05s video does not appear to be sensitive, nor anything
indicating it is.

Marshall, Keyvonna (12262)- Video is 4h30m42s. 00:44:46-00:00:45:01 contains brief
glimpses of MPD prisoner processing paperwork. 01:19:09-01:19:13 contains brief
glimpses of MPD prisoner processing paperwork. 01:19:53-01:20:15 contains brief
glimpses of MPD prisoner processing paperwork. 01:25:29-01:25:31 contains brief
glimpses of MPD prisoner processing paperwork. 01:33:50-01:34:09 contains brief
glimpses of MPD prisoner processing paperwork. 01:34:28-01:38:27 contains MPD
prisoner processing paperwork. 01:49:45-01:50:07 contains brief glimpses of MPD prisoner
processing paperwork. 02:00:35-02:02:44 contains brief glimpses of MPD prisoner
processing paperwork. 02:22:00-02:23:27 contains brief glimpses of MPD prisoner
processing paperwork. 02:37:53-02:40:43 contains several brief glimpses of MPD prisoner
processing paperwork.02:45:48-02:47:42 contains several brief glimpses of MPD prisoner
processing paperwork. 02:48:01-02:51:56 contains brief glimpses of MPD prisoner
processing paperwork. 02:57:54-02:58:02- contains brief glimpses of MPD prisoner
processing paperwork. 03:23:19-03:24:11 contains brief glimpses of MPD prisoner
processing paperwork. 03:39:52-04:03:58 contains brief glimpses of MPD prisoner
processing paperwork. 04:04:24-04:17:06 contains several brief glimpses of MPD prisoner
processing paperwork.04:23:21-04:25:39 The rest of 4h,30m,42s video does not appear to
be sensitive, nor anything indicating it is.

Coffey, Amina (9755)- Video is 3h4m36s. 00:17:05-00:22:43 contains names of arrested
individual and brief glimpse of MPD Prisoner processing paperwork. 00:25:01-00:31:59-
contains brief glimpses of MPD prisoner processing paperwork. 00:26:32-00:27:08
contains brief glimpses of MPD prisoner processing paperwork. 00:30:01-00:31:30
contains brief glimpses of MPD prisoner processing paperwork. 00:45:28-00:46:59
contains names of arrested individual and brief glimpse of MPD Prisoner processing
paperwork. 00:49:58-00:51:33 contains brief glimpses of MPD prisoner processing
paperwork. 01:09:10-01:09:16 contains officer taking selﬁe. 01:09:56-01:10:18 contains
MPD prisoner processing paperwork. 01:20:27-01:21:30 contains brief glimpses of MPD
prisoner processing paperwork. 01:21:46-01:22:11 contains name of arrested individual
and brief glimpse of MPD Prisoner processing paperwork. 01:27:16-01:28:52 contains brief
glimpses of MPD prisoner processing paperwork.01:33:33-01:37:25 contains name of
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arrested individual and brief glimpse of MPD Prisoner processing paperwork. 01:45:59-
01:47:20 contains brief glimpses of MPD prisoner processing paperwork. The rest of
3h4m36s video does not appear to be sensitive, nor anything indicating it is.

Festo, Anthony (12439)- Video is 2h8m5s. 00:51:35-00:57:34 contains names of arrested
individuals. The rest of 2h8m5s video does not appear to be sensitive, nor anything
indicating it is.

Norman, Mary (4465)-Video is 2h25m26s. 00:14:04-00:16:04 contains names of arrested
individuals and brief glimpse of MPD Prisoner processing paperwork. 00:59:38-01:01:55
contains name of arrested individual and brief glimpse of MPD Prisoner processing
paperwork. The rest of 2h25m26s video does not appear to be sensitive, nor anything
indicating it is.

Jerome, Philippe (7763)- Video is 3h3m30s. 00:07:11-00:23:02 contains names of arrested
individuals and brief glimpse of MPD Prisoner processing paperwork. 00:49:00-00:51:26
contains name of arrested individual. 00:58:50-01:00:06 contains name of arrested
individual. 01:05:27-01:06:26 Contains name of arrested individual. 02:27:57-02:30:20
contains name of arrested individual. The rest of 3h3m30s video does not appear to be
sensitive, nor anything indicating it is.

Thompson, Justin (12447)- Video is 5h45m32s. 00:44:43-00:49:55 contains name of
arrested individual. 02:12:04-02:16:37 contains names of arrested individuals. 03:23:53-
03:29:55 contains personal information and contains names of arrested individuals and
brief glimpse of MPD Prisoner processing paperwork. 03:31:55-03:38:00 contains name of
arrested individual and brief glimpse of MPD prisoner processing paperwork. 04:56:21-
05:00:06 contains names of arrested individuals. 05:10:42-05:12:56 contains names of
arrested individuals. The rest of 5h45m32s video does not appear to be sensitive, nor
anything indicating it is.

Gelsomini, Alexandria (12452)- Video is 1h42m48s. 00:48:05-00:50:45 contains name and
identifying information of arrested individual. The rest of 1h42m48s video does not appear
to be sensitive, nor anything indicating it is.

Oladipupo, Emmanuel (12453)- Video is 2h11m22s. 00:50:33-00:52:46 contains name
and processing of arrested individual. 00:54:49-00:58:46 contains processing of arrested
individuals. The rest of 2h11m22s video does not appear to be sensitive, nor anything
indicating it is.

Griffin, Connor (12197)- Video is 2h47m13s. 00:41:30-00:43:37 contains the processing of
arrested individual who complains about excessive use of force by officers. 01:22:38-
01:24:52- contains identifying information and MPD Prisoner processing paperwork
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regarding arrested individual. The rest of 2h47m13s video does not appear to be sensitive,
nor anything indicating it is.

Ramadhan, Allee (2285)- Video is 1h57m26s. 00:34:58-00:35:37 contains the name of
arrested individual. 00:38:53- 00:39:30 contains the name of arrested individual and brief
glimpse of MPD processing paperwork. 00:39:35-00:40:15 contains the name of arrested
individual. 00:41:19-00:41:47 contains the name of arrested individual. 00:42:18-00:43:08
contains name of arrested individual and brief glimpse of MPD processing paperwork.
01:10:00-01:10:18 contains the names of arrested individuals. One individual states to an
officer that he was given no warning about the curfew, was circled by officers and arrested
without explanation or cause, which he believes is a violation of MPD policy and procedure.
01:17:00-01:17:16 contains the name of arrested individuals.01:18:04-01:18:17 contains
the name of arrested individual, and brief glimpses of MPD processing paperwork.
01:19:33-01:21:02 contains brief glimpses of MPD processing paperwork. 01:22:44-
01:22:56 contains the name of arrested individual. 01:22:59-01:23:43 contains the last
name only of arrested individuals and brief glimpses of MPD paperwork. 01:24:04-01:25:09
contains brief glimpses of MPD processing paperwork and the last name of arrested
individual. The rest of 1h57m26s video does not appear to be sensitive, nor anything
indicating it is.

Gainer, Thomas (6341)-Video is 2h44m26s. 00:17:36-000:36 contains name and other
personal identifying information of arrested individual that only speaks Russian. 01:35:42-
01:39:57 contains the names of arrested individuals and brief glimpses of MPD processing
paperwork. The rest of 2h44m26s video does not appear to be sensitive, nor anything
indicating it is.

Smith, Brandy (11995)- Video is 3h14m- NOT PROVIDED ON EVIDENCE.COM

Torres, Susan (12294)- Video is 2h29m22s. 01:34:22-01:36:58 contains personal
identifying info of arrested individual. 01:58:31-02:02:34 contains identifying information of
arrested individual. The rest of 2h29m22s video does not appear to be sensitive, nor
anything indicating it is.

Lee, Kevin (12035)- Video is 2h56m5s. 02:13:42-02:13:58 contains identifying information
of arrested individual. The rest of 2h29m22s video does not appear to be sensitive, nor
anything indicating it is.

Flythe, Caya (12221)- Video is 2h29m45s. 01:15:37-01:15:59 contains phone number of
arrested individual. 01:40:58-01:41:36 contains identifying information of arrested
individual. 02:13:40-02:15:07 contains identifying information of arrested individual.
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02:17:16-02:18:57 contains identifying information of arrested individuals. The rest of
2h29m45s video does not appear to be sensitive, nor anything indicating it is.

Cardinal, Alvin (6412)- Video is 21m4s. 03:47-04:14 Officer enters a police command
truck and presses some buttons to turn on some outside lights. The rest of 21m4s video
does not appear to be sensitive, nor anything indicating it is.

Alexander, David (12397)- Video is 2h33m21s. 01:32:41-01:34:54 contains identifying
information of arrested individual. The rest of 2h33m21s video does not appear to be
sensitive, nor anything indicating it is.

Kibic, Tony (12404)- Video is 3h22m50s. 00:53:30-00:54:01 contains identifying
information of arrested individuals. The rest of 3h22m50s video does not appear to be
sensitive, nor anything indicating it is.

King, Tre'von (12405)- Video is 3h9m48s. 01:31:11-01:32:07 contains identifying
information of arrested individual. The rest of 3h22m50s video does not appear to be
sensitive, nor anything indicating it is.

Thomas, Qasim (8613)-Video is 57m10s. 47:27-50:39 contains MPD processing
paperwork. The rest of 57m10s video does not appear to be sensitive, nor anything
indicating it is.

McDONALD, TAYLOR (11456)- Video is 1h59m25s. 01:07:29-01:08:22 contains identifying
information of arrested individuals. 01:14:39-01:16:20 contains the identifying information
of an arrested individual. The rest of 1h59m25s video does not appear to be sensitive, nor
anything indicating it is.

Francis, Tonecia (12333)-Video is 3h15m39s. 00:18:25-00:25:03 contains identifying
information of arrested individual and MPD processing paperwork. 00:25:36- 00:32:11
contains MPD processing paperwork and identifying information of arrested individuals.
00:48:05-00:55:29 contains identifying information of arrested individual and MPD
processing paperwork. 00:57:16-01:09:10 contains identifying information of arrested
individuals and brief glimpses of MPD processing paperwork. 01:12:01-01:19:25 contains
identifying information of arrested individuals and brief glimpses of MPD processing
paperwork. 02:13:51-02:19:33 contains identifying information of arrested individuals and
brief glimpses of MPD processing paperwork. The rest of 3h15m39s video does not appear
to be sensitive, nor anything indicating it is.



Renneisen, Andrew (12410)- Video is 4h8m50s. 01:13:17-01:15:52 contains brief glimpses
of MPD Processing paperwork. 02:47:50-02:50:00 contains an officer relieving himself in
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the bathroom. The rest of 4h8m50s video does not appear to be sensitive, nor anything
indicating it is.

Kapral, Vasyl (12440)- Video is 5h34m6s. 02:02:21-02:03:42 contains identifying
information of arrested individual. 02:53:58-02:54:31 contains medical information of
arrested individual. The rest of 5h34m6s video does not appear to be sensitive, nor
anything indicating it is.

Paige, Rolando (2934)- Video is 3h3m49s. 00:58:37-01:03:51 contains identifying
information of arrested individual. The rest of 3h3m49s video does not appear to be
sensitive, nor anything indicating it is.

Sheaffer, Robert (5732)- Video is 3h19m15s. 01:43:10-01:46:17 contains brief glimpses of
MPD prisoner processing paperwork. 03:18:33-03:19:15 Officer attempts to turn off
bodycam, needs assistance from another officer to do so. The rest of 3h19m15s video does
not appear to be sensitive, nor anything indicating it is.

Brockman, Kayona (12359)- Video is 3h18m52s. 00:23:20-00:26:41 contains identifying
information of arrested individual. 00:33:09-00:35:10 contains identifying information of
arrested individual. 00:48:40-00:52:31 contains identifying information of arrested
individual. 00:57:40-01:04:27 contains identifying information of arrested
individuals.01:25:09-01:28:50 contains identifying information of arrested individual.
01:37:21-01:43:25 contains identifying information of arrested individuals and brief
glimpses of MPD processing paperwork. The rest of 3h18m52s video does not appear to be
sensitive, nor anything indicating it is.

Hyatt, Iman (12355)-Video is 3h16m42s. 00:20:13-00:25:41 contains identifying
information of arrested individuals and brief glimpses of MPD processing paperwork.
00:28:25-00:36:16 contains identifying information of arrested individuals and brief
glimpses of MPD processing paperwork. 01:07:31-01:13:57 contains identifying
information of arrested individuals and brief glimpses of MPD processing paperwork.
01:39:12-01:44:20 contains identifying information of arrested individuals and brief
glimpses of MPD processing paperwork. 01:54:43-02:03:58 contains identifying
information of arrested individuals and brief glimpses of MPD processing paperwork.
02:12:33-02:17:06 contains identifying information of arrested individuals and brief
glimpses of MPD processing paperwork. The rest of 3h16m42s video does not appear to be
sensitive, nor anything indicating it is.

Lee, Howard (12048)- Video is 2h35m29s. 00:03:52-00:08:47 contains personal identifying
information of arrested individuals. 00:10:05-00:15:25 contains officers arresting two
individuals who complain that they stepped outside their motel to smoke a cigarette and
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officers arrested them without warning or notice, while other people continue to walk the
sidewalks unmolested. 00:25:57-00:29:01 contains identifying information of arrested
individuals and brief glimpses of MPD processing paperwork. 01:36:34-01:49:52 contains
identifying information of arrested individuals and brief glimpses of MPD processing
paperwork. The rest of 4h8m50s video does not appear to be sensitive, nor anything
indicating it is.

French, Ian (11121)- Video is 8m9s. Contains Officers encircling and pushing protestors in
a direction away from the Capitol, moving at a slower pace due to an elderly woman with a
walker. Officers then direct anyone else to go the same direction they previously pushed
the crowd in, while being followed by several cameramen who appear to be with the Police
Department. They arrest an individual who can’t walk away due to what he claims is a
spinal injury. There are no markers in the video that label anything as sensitive, and no
discernable reason that I can determine after watching the video multiple times for the
sensitivity level.

Norﬂeet, Simeon (8959)- Video is 2h7m51s. 00:19:01-00:19:07 contains an officer in the
background stating a number. 01:37:58- 01:41:35 contains a protestor stating that they
have the right to stand wherever they want on public property, and complains that the
curfew is like they are all in middle school. Another protestor claims he was in the Armed
Forces and complains about excessive force being used during the protest such as rubber
bullets, and tear gas being used on elderly and peaceful protestors. 01:50:33-01:52:00
contains the arrest of a woman, who apologizes to the officer, Officer and woman have a
polite conversation about protesting, and she thanks him for his service. He thanks her for
being calm and polite. No identifying information or sensitive information is exchanged. The
rest of 2h7m51s video does not appear to be sensitive, nor anything indicating it is.

Thompson, Jimmie (5895)- Video is 1h19m58s. 00:07:25-00:09:00 contains police officers
coordinating with each other regarding the remaining protestors. 00:15:00-00:16:30
contains an officer directing protestors to the right of his view. 00:17:41-00:19:20 contains
officer directing protestors to the right of his view, other officers roughly push one protestor
to the right of officers view because he is not moving quickly enough or in the right
direction, I’m unsure why. 00:42:32- 00:44:34 contains officers pushing protestors away
from the Capitol. One man is pushed down and is bleeding. The man states he is
handicapped and cannot walk well and states he told that to the officer who pushed him
down. Officer asks him why he came down here if he was handicapped, and man states
that he came because he values his Constitutional Rights, then again shows his bloody
injury caused by his fall.
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Hajaistron, Victoria (12239)- Video is 6m20s. 05:43-05:53 contains officers in an area that
appears to be underground, laughing next to a sign that says “no pedestrian access”.
Officers appear to be walking through the Capitol Visitor Center area, then to a possibly
nonpublic area of the Capitol. This is speculation only, as there is only one marker and
none of the rest of the video is marked as potentially sensitive.

Miller, Michael (8335)-Video is 43m9s. 07:00-08:03- Female protestor who was trampled
at Capitol is rendered ﬁrst aid by other protestors as Officer watches ambulance. Female
protestor states where she is injured and what medications she is allergic to. 28:10-30:02
Man with “Press” on his shirt gives Officer identifying information as he was one of the
people rendering the woman medical aid. The rest of 43m9s video does not appear to be
sensitive, nor anything indicating it is.

Rogers, Enoch (4905)- Video is 35m8s. Cop is standing around observing protestors in
various areas of the Capitol. There are three markers on this video, showing crowd
behavior, but there doesn’t appear to be anything sensitive shown or discussed in this
video at all, unless there’s undercover officers in the crowd that I am unaware of. (If so, they
were never disclosed to us.)

Fanone, Michael (6845)- Video is 21m15s. Video begins with a man stating that he’s going
to “try to help you out here, you get me?” Someone says “Thank you” Someone yells “Hey! I
got one!” There appears to be some pushing and a bit of crowd chaos, and then officer
screams, and various protestors state “We aren’t going to hurt you” and “We’re trying to
help you” while other protestors tell others in the crowd not to hurt the officer. Officer
continues screaming while protestors reassure him that they will not hurt him. Screen goes
momentarily black while a protestor repeats “I got you. I got you” multiple times. Protestors
can then be heard stating “Let him through” multiple times in succession. Protestors
appear to help officer up and repeatedly state “Don’t hurt him.” To the crowd around them.
Protestors ask Officer which way he wants to go, “do you want to go back inside?” then
someone yells “Make way!” repeatedly. Various protestors then help Officer back to the
police line, where he appears to collapse on the ground. Other officers yell “Officer down!”
and start pulling him out of the tunnel area to received medical attention, as officer
appears unresponsive. 03:24-Officer can be heard asking for EMTS, 03:30-04:22-Officer
Fanone opens one eye while his face is brieﬂy visible on his BWC, then closes it again.
03:58- Officer Fanone’s face is again visible on his BWC, and his eyes ﬂicker open and
closed, so I am unsure whether he is conscious or not, but he appears to be so, even
though he does not respond to his fellow officers. 04:51- Fanone responds to other officers
and asks “Did we take that door back?” which the other officers respond affirmatively.
05:00-6:20 Fanone sits up and rests for a minute, before standing. 06:29- Officer asks
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Fanone “Did they hit you with something?”Fanone responds “Huh?” Officer asks again “Did
they hit you with something?” To which Fanone responds “No, they just pulled me out into
the crowd.” 07:01 Fanone drinks water, and responds to an officer showing concern that
“I’m good.” 07:25 Fanone begins walking through the halls without assistance to go get
checked out by an EMT. 08:51-Fanone gives another Officer an arm bump in an apparent
greeting, then continues walking toward the outside of the Capitol. 09:36 Fanone claims
that “They stole my radio” to which the other officer responds “Yeah there is a bunch of
people missing stuff now, one guy even found a soft shot pistol out on the lower west
terrace. And it had both types of ammo in it too.” They momentarily wait for the elevator,
then begin walking again at 09:56. 11:02 they enter an elevator. 11:15 exit elevator and
continue walking to the exit. 12:00 they reach the exit door and continue walking towards
the EMT walking past various protestors behind barricades. 12:50, officer moves
barricades and walks through the crowd with Fanone towards the EMT area. 13:31
someone off screen asks Fanone and other officer is they need any decon, and officer
responds “Yeah that’s why we’re here.” And continues walking towards EMT area. 13:46
EMT asks Fanone “What happened?” Fanone responds “I got dragged out into the crowd.”
EMT asks “And what happened?” Fanone responds “Uh they fuckin…” EMT ask “You got
beat?” Fanone responds “whooped my fuckin ass” 14:00 EMT asks “Did you get gassed at
all or?” to which Fanone responds “ Oh yeah, but I’m used to CS Gas, its ﬁne.” EMT then
states “alright, where’d you get punched everywhere or?” Fanone responds “Yep.” 14:10
EMT states “Let me take a look at you here, anywhere in particular hurting more than
others?” Fanone states “My head” EMT asks if he got kicked, Fanone states that he did get
kicked. 14:21 EMT checks for fractures, but ﬁnds none. 14:54 EMT has Fanone follow his
ﬁnger with his eyes, also uses a ﬂashlight to do an exam of some sort, and ﬁnds no
apparent issues. 15:44 EMT states “No obvious severe injuries, no fractures, your pupils are
equal, are you dizzy at all? Stay here and rest until you feel better.” 16:00 EMT offers Fanone
water to wash out the CS Gas, Fanone declines and states he’s ﬁne. 16:26 EMT tells
Fanone to stay there and make sure he’s ok, but that he “Cannot ﬁnd anything obvious.”
17:04 Fanone gives a thumbs up to another Officer. 17:23-17:38 contains personal
information of Officer Fanone. 17:43 Officer Fanone repeats to another officer that “They
stole my radio too” Officer responds “That’ll be another suspension.” To which Fanone
responds “Yeah I know.” While the three officers standing around Fanone laugh. 17:51
Officer states “Well if they’re gonna suspend you anyway tell them you gave it to them.”
Laughing ensues. 17:55 Another Officer states “they said they were taxpayers.” Laughing
again then officer says “They wanted it back”. 18:04 Officer states “I told them the thing
never works anyway.” 18:14 Officer states he just got out and that it is a long walk. 18:19
Officer states “They pushed everybody back from that door, and they only have like 4 guys
there with shields now, everybody else is on break. But they seem to be, knock on wood,
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they seem to be kinda dispersing. But dude, after we got you back they were like, for what
its worth, they were like “we’re sorry, we’re sorry, what if we just sit down will you stop
hitting us?”” All the officers laugh at this. 18:46 Fanone states that he was scared and
claims that protestors tried to take his gun. 19:10 Officer asks Fanone if he is going to go to
the hospital or anything, to which Fanone does not verbally respond. 19:52 Fanone stands
up on his own and walks toward EMT. EMT states that if he starts developing severe
headaches, dizziness, or trouble seeing that he will need to go to the ER. Fanone says
“Alright” 20:49 Fanone states to other officer “Hey they stole one of my pistol mags too.”
Other Officer states “You mean they stole BOTH OF THEM.” and smirks while other officers
laugh. Other officer states “They stole mine too. I think they even stole my gun.” While all
officers laugh. Video ends at 21:15.

Cartwright, Christopher (7293)- Video is 2h3m41s.00:08:31-Officer enters Capitol.
00:29:51 is officer in the tunnel area of the Capitol. (this area has been shown in multiple
trials as Government exhibits.) 00:42:26 a protestor throws a bottle at officers, it hits no
one. Officer comments that the protestors are terrorists. 01:18:38 contains officers
pushing protestors off upper west terrace and deploying pepper spray indiscriminately into
the crowd. The rest of 2h3m41s video does not appear to be sensitive, nor anything
indicating it is.

White, Darrin (2767)-Video is 16m6s. 00:00-15:11 of the video is this Officer driving on a
motorcycle to the Capitol, while talking to dispatch on the radio. 15:12-16:06 He and other
officers complain about the lack of planning and clear instructions. Video ends. Unsure if
any of the radio traffic is sensitive, as much of it was played in almost every trial, but that is
the only thing that may possibly be, as there are no markers designating anything in this
video as sensitive.
